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                             UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

Eightfold Real Estate Capital, L.P.,                   §
                                                       §
                                                       §
                  Plaintiff,                           §
                                                       §
                          v.                           § Civ. Action No. 1:19-cv-00239-LY
                                                       §
Eightfold Developments, LLC,                           §
Panache Development & Construction, Inc.,              §
Adam Zarafshani, and                                   §
Dan White,                                             §
                                                       §
                  Defendants.                          §

                           ADAM ZARAFSHANI’S ANSWER AND
                       AFFIRMATIVE DEFENSES TO THE COMPLAINT

          Defendant Adam Zarafshani, (“Zarafshani”), answers the Original Complaint

(“Complaint”) of Plaintiff Eightfold Real Estate Capital, L.P., (“EREC”) as follows:

                                  JURISDICTION AND VENUE

          1.      With respect to the allegations in Paragraph 1 of the Complaint, Zarafshani admits

that the Complaint purports to include actions arising under the trademark laws of the United

States set forth in Title 15 of the United States Code and Title 28 of the United States Code, and

as such, does not dispute that this Court has subject matter jurisdiction over those purported

actions

          2.      With respect to the allegations in Paragraph 2 of the Complaint, Zarafshani admits

that he resides in this district and does not dispute the appropriateness of this venue. As to the

remaining allegations of Paragraph 2 of the Complaint, Zarafshani lacks knowledge or

information sufficient to either admit or deny, and Zarafshani therefore denies the remaining

allegations in Paragraph 2.




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                                   NATURE OF ACTION

       3.      With respect to the allegations in Paragraph 3 of the Complaint, Zarafshani admits

that the Complaint purportedly makes allegations for claims in law and equity for statutory

trademark infringement, common law federal trademark infringement, common law trademark

infringement, counterfeiting, false designation of origin and unfair competition in violation of

Section 42 of the Lanham Act of 1946, as amended, 15 U.S.C. § 1051, et seq., and Texas state

law. Zarafshani denies the remaining allegations in Paragraph 3 of the Complaint.

                                        THE PARTIES

       4.      With respect to the allegations in Paragraph 4 of the Complaint, Zarafshani lacks

knowledge or information sufficient to either admit or deny, and Zarafshani therefore denies the

allegations in Paragraph 4.

       5.      Zarafshani admits the allegations in Paragraph 5 of the Complaint.

       6.      With respect to the allegations in Paragraph 6 of the Complaint, Zarafshani denies

that Panache is a limited liability company, but admits that Panache is incorporated under the

laws of the State of Texas with a mailing address of P.O. Box 26539, Austin, TX 78755-0539.

Zarafshani denies the remaining allegations in Paragraph 6 of the Complaint.

       7.      With respect to the allegations in Paragraph 7 of the Complaint, Zarafshani admits

the allegations as to White’s address and residency. Zarafshani denies the remaining allegations

in Paragraph 7.

       8.      Zarafshani admits the allegations in Paragraph 8 of the Complaint.

                                  STATEMENT OF FACTS

       9.      With respect to the allegations in Paragraph 9 of the Complaint, Zarafshani lacks

knowledge or information sufficient to either admit or deny, and Zarafshani therefore denies the

allegations in Paragraph 9.



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       10.     With respect to the allegations in Paragraph 10 of the Complaint, Zarafshani lacks

knowledge or information sufficient to either admit or deny, and Zarafshani therefore denies the

allegations in Paragraph 10.

       11.     With respect to the allegations in Paragraph 11 of the Complaint, Zarafshani lacks

knowledge or information sufficient to either admit or deny, and Zarafshani therefore denies the

allegations in Paragraph 11.

       12.     With respect to the allegations in Paragraph 12 of the Complaint, Zarafshani lacks

knowledge or information sufficient to either admit or deny, and Zarafshani therefore denies the

allegations in Paragraph 12.

       13.     With respect to the allegations in Paragraph 13 of the Complaint, Zarafshani lacks

knowledge or information sufficient to either admit or deny, and Zarafshani therefore denies the

allegations in Paragraph 13.

       14.     With respect to the allegations in Paragraph 14 of the Complaint, Zarafshani lacks

knowledge or information sufficient to either admit or deny, and Zarafshani therefore denies the

allegations in Paragraph 14.

       15.     With respect to the allegations in Paragraph 15 of the Complaint, Zarafshani

admits that the Complaint shows two records of trademarks purportedly registered with the

United States Patent and Trademark Office.         Zarafshani lacks knowledge or information

sufficient to either admit or deny the remaining allegations of Paragraph 15 of the Complaint,

and Zarafshani therefore denies the remaining allegations in Paragraph 15.

       16.     With respect to the allegations in Paragraph 16 of the Complaint, Zarafshani

admits that what appears to be a copy of the United States Patent and Trademark Office’s

Trademark Electronic Search System (TESS) website displaying the information associated with




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Registration No. 4483962 is attached as Exhibit A to the Complaint. Zarafshani denies that

Exhibit A is a registration certificate. Zarafshani lacks knowledge or information sufficient to

either admit or deny the remaining allegations of Paragraph 16 of the Complaint, and Zarafshani

therefore denies the allegations in Paragraph 16.

       17.     With respect to the allegations in Paragraph 17 of the Complaint, Zarafshani

admits that what appears to be a copy of the United States Patent and Trademark Office’s

Trademark Electronic Search System (TESS) website displaying the information associated with

Registration No. 4483963 is attached as Exhibit B to the Complaint. Zarafshani denies that

Exhibit B is a registration certificate. Zarafshani lacks knowledge or information sufficient to

either admit or deny the remaining allegations of Paragraph 17 of the Complaint, and Zarafshani

therefore denies the allegations in Paragraph 17.

       18.     With respect to the allegations in Paragraph 18 of the Complaint, Zarafshani lacks

knowledge or information sufficient to either admit or deny, and Zarafshani therefore denies the

allegations in Paragraph 18.

       19.     With respect to the allegations in Paragraph 19 of the Complaint, Zarafshani

admits that Exhibit C to the Complaint appears to be an email dated August 16, 2018.

Zarafshani lacks knowledge or information sufficient to either admit or deny the remaining

allegations of Paragraph 19 of the Complaint, and Zarafshani therefore denies the remaining

allegations in Paragraph 19.

       20.     With respect to the allegations in Paragraph 20 of the Complaint, Zarafshani

admits that Exhibit C to the Complaint states, “So looks like your in Austin‼!” Zarafshani lacks

knowledge or information sufficient to either admit or deny the remaining allegations of




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Paragraph 20 of the Complaint, and Zarafshani therefore denies the remaining allegations in

Paragraph 20.

       21.      With respect to the allegations in Paragraph 21 of the Complaint, Zarafshani

admits that Exhibit C to the Complaint states, “Is the attached the same Eightfold we are already

working with?” Zarafshani admits that Exhibit D to the Complaint was a document describing

the EIGHTFOLD campus project by Defendant Eightfold Developments, LLC, (“ED”) and lists

Zarafshani’s name along with ED’s contact information in the document. Zarafshani lacks

knowledge or information sufficient to either admit or deny the remaining allegations of

Paragraph 21 of the Complaint, and Zarafshani therefore denies the remaining allegations in

Paragraph 21.

       22.      With respect to the allegations in Paragraph 22 of the Complaint, Zarafshani lacks

knowledge or information sufficient to either admit or deny, and Zarafshani therefore denies the

allegations in Paragraph 22.

       23.      With respect to the allegations in Paragraph 23 of the Complaint, Zarafshani

admits that Exhibit D to the Complaint is a document describing EIGHTFOLD campus, which is

a commercial real estate project by ED.

       24.      Zarafshani denies the allegations in Paragraph 24 of the Complaint.

       25.      With respect to the allegations in Paragraph 25 of the Complaint, Zarafshani

admits that Exhibit E to the Complaint appears to be a letter from EREC’s counsel to Zarafshani

in his capacity as president of Panache Development & Construction, Inc., that is dated

September 24, 2018. Zarafshani admits that the letter makes three demands regarding Panache’s

alleged use of EREC’s mark. Zarafshani denies the remaining allegations in Paragraph 25 of the

Complaint.




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       26.     With respect to the allegations in Paragraph 26 of the Complaint, Zarafshani

admits that Exhibit F to the Complaint appears to be an email from Zarafshani to EREC’s

counsel, the text of which is quoted in Paragraph 26 of the Complaint.

       27.     With respect to the allegations in Paragraph 27 of the Complaint, Zarafshani

admits that he did not communicate with EREC after sending the email included in Exhibit F to

the Complaint. Zarafshani lacks knowledge or information sufficient to either admit or deny the

remaining allegations of Paragraph 27 of the Complaint, and Zarafshani therefore denies the

remaining allegations in Paragraph 27.

       28.     With respect to the allegations in Paragraph 28 of the Complaint, Zarafshani

denies that an officer of EREC tried to contact Zarafshani after the initial letter included in

Exhibit E to the Complaint was sent. Zarafshani lacks knowledge or information sufficient to

either admit or deny the remaining allegations of Paragraph 28 of the Complaint, and Zarafshani

therefore denies the remaining allegations in Paragraph 28.

       29.     Zarafshani denies the allegations in Paragraph 29 of the Complaint.

       30.     With respect to the allegations in Paragraph 30 of the Complaint, Zarafshani lacks

knowledge or information sufficient to either admit or deny, and Zarafshani therefore denies the

allegations in Paragraph 30.

       31.     With respect to the allegations in Paragraph 31 of the Complaint, Zarafshani lacks

knowledge or information sufficient to either admit or deny, and Zarafshani therefore denies the

allegations in Paragraph 31.

       32.     Zarafshani denies the allegations in Paragraph 32 of the Complaint.




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        33.    With respect to the allegations in Paragraph 33 of the Complaint, Zarafshani lacks

knowledge or information sufficient to either admit or deny, and Zarafshani therefore denies the

allegations in Paragraph 33.

        34.    With respect to the allegations in Paragraph 34 of the Complaint, Zarafshani lacks

knowledge or information sufficient to either admit or deny, and Zarafshani therefore denies the

allegations in Paragraph 34.

        35.    With respect to the allegations in Paragraph 35 of the Complaint, Zarafshani lacks

knowledge or information sufficient to either admit or deny, and Zarafshani therefore denies the

allegations in Paragraph 35.

                                             COUNT I

             DIRECT AND CONTRIBUTORY INFRINGEMENT AND
         COUNTERFEITING OF FEDERALLY REGISTERED TRADEMARKS
                       AGAINST ALL DEFENDANTS

        36.    With respect to the allegations in Paragraph 36 of the Complaint, Zarafshani

incorporates by reference all of its answers to Paragraphs 1 through 35 as if fully set forth herein.

        37.    With respect to the allegations in Paragraph 37 of the Complaint, Zarafshani

admits that the Complaint purportedly makes allegations for claims under Section 32 of the

Lanham Act, 15 U.S.C. § 1114. Zarafshani denies the allegations in Paragraph 37 of the

Complaint as they relate to direct infringement under Section 32 of the Lanham Act, 15 U.S.C. §

1114.    Zarafshani has moved to dismiss the claims as to contributory infringement and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114, and therefore will answer

the allegations in Paragraph 37 of the Complaint as they relate to these claims in due course, if

and when appropriate.

        38.    Zarafshani denies the allegations in Paragraph 38 of the Complaint as they relate

to direct infringement under Section 32 of the Lanham Act, 15 U.S.C. § 1114. Zarafshani has


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moved to dismiss the claims as to contributory infringement and counterfeiting under Section 32

of the Lanham Act, 15 U.S.C. § 1114, and therefore will answer the allegations in Paragraph 38

of the Complaint as they relate to these claims in due course, if and when appropriate.

       39.     Zarafshani denies the allegations in Paragraph 39 of the Complaint as they relate

to direct infringement under Section 32 of the Lanham Act, 15 U.S.C. § 1114. Zarafshani has

moved to dismiss the claims as to contributory infringement and counterfeiting under Section 32

of the Lanham Act, 15 U.S.C. § 1114, and therefore will answer the allegations in Paragraph 39

of the Complaint as they relate to these claims in due course, if and when appropriate.

       40.     Zarafshani denies the allegations in Paragraph 40 of the Complaint as they relate

to direct infringement under Section 32 of the Lanham Act, 15 U.S.C. § 1114. Zarafshani has

moved to dismiss the claims as to contributory infringement and counterfeiting under Section 32

of the Lanham Act, 15 U.S.C. § 1114, and therefore will answer the allegations in Paragraph 40

of the Complaint as they relate to these claims in due course, if and when appropriate.

       41.     Zarafshani denies the allegations in Paragraph 41 of the Complaint as they relate

to direct infringement under Section 32 of the Lanham Act, 15 U.S.C. § 1114. Zarafshani has

moved to dismiss the claims as to contributory infringement and counterfeiting under Section 32

of the Lanham Act, 15 U.S.C. § 1114, and therefore will answer the allegations in Paragraph 41

of the Complaint as they relate to these claims in due course, if and when appropriate.

                                            COUNT II

                  INFRINGEMENT OF COMMON LAW TRADEMARKS
                           AGAINST ALL DEFENDANTS

       42.     With respect to the allegations in Paragraph 36 of the Complaint, Zarafshani

incorporates by reference all of its answers to Paragraphs 1 through 35 as if fully set forth herein.




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       43.     With respect to the allegations in Paragraph 43 of the Complaint, Zarafshani

admits that the Complaint purportedly makes allegations for trademark claims under Texas

common law. Zarafshani denies the remaining allegations in Paragraph 43 of the Complaint.

       44.     Zarafshani denies the allegations in Paragraph 44 of the Complaint as to direct

infringement under Texas common law. Zarafshani has moved to dismiss the claims as to

contributory infringement and counterfeiting under Texas common law, and therefore will

answer these allegations in due course if, and when, appropriate.            Zarafshani denies the

remaining allegations in Paragraph 44 of the Complaint.

       45.     Zarafshani denies the allegations in Paragraph 45 of the Complaint as to direct

infringement under Texas common law. Zarafshani has moved to dismiss the claims as to

contributory infringement and counterfeiting under Texas common law, and therefore will

answer these allegations in due course if, and when, appropriate.            Zarafshani denies the

remaining allegations in Paragraph 45 of the Complaint.

       46.     Zarafshani denies the allegations in Paragraph 46 of the Complaint as to direct

infringement under Texas common law. Zarafshani has moved to dismiss the claims as to

contributory infringement and counterfeiting under Texas common law, and therefore will

answer these allegations in due course if, and when, appropriate.            Zarafshani denies the

remaining allegations in Paragraph 46 of the Complaint.

                                            COUNT III

                          FEDERAL UNFAIR COMPETITION AND
                            FALSE DESIGNATION OF ORIGIN
                              AGAINST ALL DEFENDANTS

       47.     With respect to the allegations in Paragraph 47 of the Complaint, Zarafshani

incorporates by reference all of its answers to Paragraphs 1 through 35 as if fully set forth herein.




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       48.     With respect to the allegations in Paragraph 48 of the Complaint, Zarafshani

admits that the Complaint purportedly makes allegations for claims under Section 43(a) of the

Lanham Act, 15 U.S.C. § 1125(a). Zarafshani denies the remaining allegations in Paragraph 48

of the Complaint.

       49.     Zarafshani denies the allegations in Paragraph 49 of the Complaint.

       50.     Zarafshani denies the allegations in Paragraph 50 of the Complaint.

       51.     Zarafshani denies the allegations in Paragraph 51 of the Complaint.

       52.     Zarafshani denies the allegations in Paragraph 52 of the Complaint.

                                           COUNT IV

                                  COUNTERFEITING
                               AGAINST ALL DEFENDANTS

       53.     With respect to the allegations in Paragraph 53 of the Complaint, Zarafshani has

moved to dismiss the claims as to Count IV, counterfeiting under 15 U.S.C. § 1114, and

therefore will answer these allegations in due course if, and when, appropriate.

       54.     With respect to the allegations in Paragraph 54 of the Complaint, Zarafshani has

moved to dismiss the claims as to Count IV, counterfeiting under 15 U.S.C. § 1114, and

therefore will answer these allegations in due course if, and when, appropriate.

       55.     With respect to the allegations in Paragraph 55 of the Complaint, Zarafshani has

moved to dismiss the claims as to Count IV, counterfeiting under 15 U.S.C. § 1114, and

therefore will answer these allegations in due course if, and when, appropriate.

       56.     With respect to the allegations in Paragraph 56 of the Complaint, Zarafshani has

moved to dismiss the claims as to Count IV, counterfeiting under 15 U.S.C. § 1114, and

therefore will answer these allegations in due course if, and when, appropriate.




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       57.     With respect to the allegations in Paragraph 57 of the Complaint, Zarafshani has

moved to dismiss the claims as to Count IV, counterfeiting under 15 U.S.C. § 1114, and

therefore will answer these allegations in due course if, and when, appropriate.

       58.     With respect to the allegations in Paragraph 58 of the Complaint, Zarafshani has

moved to dismiss the claims as to Count IV, counterfeiting under 15 U.S.C. § 1114, and

therefore will answer these allegations in due course if, and when, appropriate.

       59.     With respect to the allegations in Paragraph 59 of the Complaint, Zarafshani has

moved to dismiss the claims as to Count IV, counterfeiting under 15 U.S.C. § 1114, and

therefore will answer these allegations in due course if, and when, appropriate.

       60.     With respect to the allegations in Paragraph 60 of the Complaint, Zarafshani has

moved to dismiss the claims as to Count IV, counterfeiting under 15 U.S.C. § 1114, and

therefore will answer these allegations in due course if, and when, appropriate.

       61.     With respect to the allegations in Paragraph 61 of the Complaint, Zarafshani has

moved to dismiss the claims as to Count IV, counterfeiting under 15 U.S.C. § 1114, and

therefore will answer these allegations in due course if, and when, appropriate.

       62.     With respect to the allegations in Paragraph 62 of the Complaint, Zarafshani has

moved to dismiss the claims as to Count IV, counterfeiting under 15 U.S.C. § 1114, and

therefore will answer these allegations in due course if, and when, appropriate.

       63.     With respect to the allegations in Paragraph 63 of the Complaint, Zarafshani has

moved to dismiss the claims as to Count IV, counterfeiting under 15 U.S.C. § 1114, and

therefore will answer these allegations in due course if, and when, appropriate.




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                                             COUNT VI

                          COMMON LAW UNFAIR COMPETITION
                             AGAINST ALL DEFENDANTS

          64.    With respect to the allegations in Paragraph 64 of the Complaint, Zarafshani

incorporates by reference all of its answers to Paragraphs 1 through 35 as if fully set forth herein.

          65.    With respect to the allegations in Paragraph 65 of the Complaint, Zarafshani

admits that the Complaint purportedly makes allegations for unfair competition claims under

Texas common law.         Zarafshani denies the remaining allegations in Paragraph 65 of the

Complaint.

          66.    Zarafshani denies the allegations in Paragraph 66 of the Complaint.

          67.    Zarafshani denies the allegations in Paragraph 67 of the Complaint.

          68.    Zarafshani denies the allegations in Paragraph 68 of the Complaint.

                        ANSWER TO EREC’S PRAYER FOR RELIEF

          As to all Prayers for relief set forth in the Complaint, Zarafshani denies that EREC is

entitled to any relief, as alleged or otherwise.

          All other allegations in the Complaint not specifically admitted or denied are hereby

denied.

                           AFFIRMATIVE AND OTHER DEFENSES

          For its affirmative and additional other defenses to EREC’s Complaint, Zarafshani states

as follows:

                                         FIRST DEFENSE

          EREC is not entitled to preliminary or permanent injunctive relief because, among other

reasons, Zarafshani’s use of the EIGHTFOLD mark is not causing EREC irreparable harm; the

balance of hardships associated with entering an injunction weighs heavily in Zarafshani’s favor;




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and/or the public interest would be disserved by the issuance of any injunction. See eBay, Inc. v.

MercExchange, LLC, 547 U.S. 388 (2006).

                                        JURY DEMAND

       Zarafshani hereby demands a trial by jury pursuant to Fed. R. Civ. P. 38.

                                    PRAYER FOR RELIEF

       WHEREFORE, Zarafshani respectfully requests that the Court enter Judgment as

follows:

       (a) that EREC’s claims be dismissed with prejudice;

       (b) that Zarafshani be awarded its attorneys’ fees and costs incurred in defending this

action; and

       (c) that the Court grant such other relief to Zarafshani as is just and equitable.



Dated: May 8, 2019.                               Respectfully Submitted,

                                                  /s/ Jonathan R. Dotson
                                                  Jonathan R. Dotson
                                                  Texas Bar No. 24036495
                                                  K&L GATES LLP
                                                  2801 Via Fortuna, Ste. 350
                                                  Austin, Texas 78746
                                                  Phone: (512) 482-6800
                                                  Fax: (512) 482-6859
                                                  Jon.Dotson@klgates.com

                                                  Beth W. Petronio
                                                  TX State Bar No. 00797664
                                                  K&L GATES LLP
                                                  1717 Main Street, Suite 2800
                                                  Dallas, TX 75201
                                                  Phone: (214) 939-5815
                                                  Fax: (214) 939-5849
                                                  beth.petronio@klgates.com




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                               Christopher J. Fahy (Pro Hac Vice pending)
                               Alexis Crawford Douglas (Pro Hac Vice
                               pending)
                               Katherine L. Allor (Pro Hac Vice pending)
                               K&L Gates LLP
                               70 West Madison Street, Suite 3300
                               Chicago, Illinois 60602
                               Telephone: (312) 372-1121
                               christopher.fahy@klgates.com
                               alexis.douglas@klgates.com
                               katherine.allor@klgates.com

                               ATTORNEYS FOR DEFENDANT
                               ADAM ZARAFSHANI




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                                 CERTIFICATE OF SERVICE

         I certify that all counsel of record who have appeared in this case received a copy of this

document via the Court’s CM/ECF system on May 8, 2019.

                                                              /s/ Jonathan Dotson
                                                              Jonathan R. Dotson




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